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                                                                                                                                      Hello, Rebecca McIntyre!


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Kalamazoo Public Schools (39010) December 2019
                                                                                                                                                      

    Write and Submit CAP      MDE Review        Complete and Submit      Implement CAP      District Request Closeout    ISD Complete and          MDE Verify and Close
      Due: 02/01/2020                             Progress Report                               Due: 09/01/2020          Submit Verification
                                                  Due: 06/15/2020                                                         Due: 10/01/2020



Document Status History
                           Status                                   Date/Time                          By                                      Notes
    CAP Created                                          12/11/2019 2:00:13 AM           System, Catamaran

    Needs to be Completed                                12/13/2019 9:57:20 AM           System, Catamaran

    Submitted to MDE for Review                          2/11/2020 9:55:33 AM            Saunders, Rikki

    Returned by MDE for Modifications                    2/25/2020 3:08:03 PM            Delpy, Lynn

Resubmitted to MDE for Review                            2/28/2020 4:33:39 PM            Saunders, Rikki

    Returned by MDE for Modifications                    3/2/2020 1:30:34 PM             Delpy, Lynn

Resubmitted to MDE for Review                            3/2/2020 1:47:28 PM             Saunders, Rikki

    Returned by MDE for Modifications                    3/2/2020 2:44:55 PM             Delpy, Lynn

Resubmitted to MDE for Review                            3/5/2020 9:41:07 AM             Saunders, Rikki

Approved - PR Required                                   3/9/2020 12:02:54 PM            Delpy, Lynn

PR Submitted to MDE for Review                           6/15/2020 3:29:27 PM            Saunders, Rikki

    PR Returned by MDE for Modifications                 6/16/2020 3:43:25 PM            Delpy, Lynn

PR Resubmitted to MDE for Review                         6/26/2020 12:39:48 PM           Saunders, Rikki

    PR Returned by MDE for Modifications                 6/26/2020 1:28:23 PM            Delpy, Lynn

PR Resubmitted to MDE for Review                         6/26/2020 1:37:15 PM            Saunders, Rikki

PR Accepted by MDE                                       6/29/2020 8:00:20 AM            Delpy, Lynn

Implement CAP                                            6/29/2020 8:00:21 AM            Delpy, Lynn

    Verification & Closeout Request Submitted            9/28/2020 12:45:14 PM           Saunders, Rikki

Implement CAP                                            10/5/2020 1:45:14 PM            Sellers, Melissa                 10/5/20 ms per Victoria Wentela

    Verification & Closeout Request Submitted            10/13/2020 2:45:17 PM           Saunders, Rikki

Closeout Request Submitted to MDE                        10/27/2020 9:06:58 AM           Wentela, Mrs. Victoria

Closeout Request Returned to ISD                         10/27/2020 4:06:32 PM           Delpy, Lynn

Closeout Request Resubmitted to MDE                      11/4/2020 11:24:48 AM           Wentela, Mrs. Victoria

    Verified and Closed by MDE                           11/12/2020 1:18:11 PM           Jeanne AT


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      For additional assistance,                             Catamaran Help Desk
      contact the Catamaran Help                             help@catamaran.partners
      Desk or visit the Catamaran                            877-474-9023 (Toll Free)
      Technical Assistance Website.                          M - F 8:00 AM to 5:00 PM EST
                                                             Catamaran Technical Assistance Website

      Catamaran is an Individuals with Disabilities Education Act (IDEA) Grant Funded Initiative through the Michigan Department of Education, Office of
                                                                                                                                                        MDE_00005958
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                                  Special Education.
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                                                                                             MDE_00005959
